Case 1:20-cv-00443-TSE-TCB Document 12 Filed 09/11/20 Page 1 of 13 PageID# 123




                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

                                        )
 OPT OUT SERVICES LLC,                  )
                                        )
             Plaintiff,                 )
                                        )
                     v.                 )            Civil Action No. 1:20-cv-443 (TSE/TCB)
                                        )
 OPROUTPRESCREEN.COM, et al.,           )
                                        )
             Defendants.                )
 ______________________________________ )

                            REPORT AND RECOMMENDATION

        THIS MATTER is before the undersigned on Plaintiff Opt Out Services, LLC’s

 (“Plaintiff”) Motion for Default Judgment (Dkt. 8). 1 For the reasons stated below, the

 undersigned U.S. Magistrate Judge recommends that the Court grant Plaintiff’s motion for

 default judgment.

                                         I. BACKGROUND

        A.     Procedural Posture

        Plaintiff filed its Verified Complaint on April 21, 2020 pursuant to the Anti-

 Cybersquatting Consumer Protection Act (“ACPA”), 15 U.S.C. § 1125(d), and for trademark

 infringement under the Lanham Act, 15 U.S.C. § 1114(1)(a). (See generally Dkt. 1.) When a

 representative for Defendant Domain Names failed to timely appear or otherwise respond in this

 matter, Plaintiff requested the clerk’s entry of default on July 22, 2020, and the Clerk entered

 Defendants’ default on July 22, 2020. (Dkts. 5-6.) Thereafter, Plaintiff filed the instant motion


 1
  The relevant filings before the undersigned include Plaintiff’s Verified Complaint (“Compl.”)
 (Dkt. 1); Plaintiff’s Motion for Default Judgment (“Mot. Default J.”) (Dkt. 8); Memorandum of
 Points and Authorities in Support of Plaintiff’s Motion for Default Judgment (“Mem. Supp.”)
 (Dkt. 9); and all attachments and exhibits submitted with those filings.
                                                1
Case 1:20-cv-00443-TSE-TCB Document 12 Filed 09/11/20 Page 2 of 13 PageID# 124




 for default judgment and the supporting memorandum on July 24, 2020. (Dkts. 8-9.) Plaintiff

 initially noticed a hearing for August 28, 2020. (Dkt. 10.) Due to the COVID-19 pandemic, on

 August 20, 2020, the undersigned entered an order stating:

        [T]o proceed as cautiously and safely as possible, the Court will not hold a
        hearing on this matter. Instead, the Court will allow any interested party to file an
        objection within two weeks of the date of this Order. Accordingly, any objections
        to Plaintiff’s motion for default judgment are to be filed with the Clerk’s office by
        Wednesday, September 9, 2020 at 5:00 p.m. The undersigned will then issue a
        Report and Recommendation concerning the default judgment without a hearing.

 (Dkt. 11.)

        No interested party filed a timely objection. Accordingly, the undersigned issues this

 Report and Recommendation to address Plaintiff’s motion for default judgment.

        B.      Jurisdiction and Venue

        Before the Court can render default judgment against an Internet domain name pursuant

 to the ACPA, it must have (1) subject-matter jurisdiction, (2) in rem jurisdiction over the domain

 name, and (3) proper venue.

        First, the undersigned finds that this Court has federal question subject-matter

 jurisdiction. Plaintiff brought this cause of action pursuant to the ACPA, a federal trademark

 statute. (See Compl. ¶¶ 13-17.) This Court therefore has original jurisdiction under 28 U.S.C. §

 1331 (jurisdiction over “civil actions arising under the Constitution, laws, or treaties of the

 United States”), 15 U.S.C. § 1121(a) (jurisdiction over federal trademark actions), and 28 U.S.C.

 § 1338(a) (jurisdiction over “any Act of Congress relating to . . . trademarks”).

        Second, the undersigned finds that the Court has proper in rem jurisdiction over

 Defendant Domain Names pursuant to 15 U.S.C. § 1125(d)(2)(A). This subsection allows a

 plaintiff to file an in rem civil action against an Internet domain name if the plaintiff is unable to

 (1) “obtain in personam jurisdiction over a person who would have been a defendant in a civil

                                                   2
Case 1:20-cv-00443-TSE-TCB Document 12 Filed 09/11/20 Page 3 of 13 PageID# 125




 action”; or (2) find the person who would have been the defendant through due diligence. 15

 U.S.C. § 1125(d)(2)(A)(ii)(I)-(II). Here, Plaintiff alleges that it was unable to obtain in personam

 jurisdiction over the individual who would have been the defendant in this civil action, as it

 believes the “listed registrant of the Defendant Domain Names is either a privacy service, a

 fictitious person/entity, and/or an individual residing outside the United States[.]” (Compl. ¶ 15.)

 Further, Plaintiff alleges that it was unable to find the identity of the current registrant and owner

 of Defendant Domain Names because the owner is concealing their identity. (Compl. ¶¶ 43, 44,

 50.) Despite Plaintiff’s due diligence—including sending notice of the alleged violation and its

 intent to proceed in rem, as well as publishing notice of this action as directed by the Court—

 Plaintiff was still unable to identify the individual. (Dkts. 3, 4.) Therefore, this Court has proper

 in rem jurisdiction over Defendant Domain Names pursuant to the ACPA.

        Third, Plaintiff filed this lawsuit in the proper venue. Under 15 U.S.C. §

 1125(d)(2)(C)(i), the domain name’s “situs” is in the judicial district where “the domain name

 registrar, registry, or other domain name authority that registered or assigned the domain name is

 located.” 15 U.S.C. § 1125(d)(2)(C)(i). Here, venue is proper because (1) the registry operator

 for .COM domain names, VeriSign, Inc., is located within the Eastern District of Virginia; and

 (2) Defendant Domain Name is a “.COM” domain name. (Compl. ¶ 17.)

        C.      Service of Process

        Before the Court can render default judgment, it must be satisfied that the defaulting

 party has been properly served. Federal Rule of Civil Procedure 4(n)(1) allows a federal court to

 assert jurisdiction over property if a federal statute authorizes it. Fed. R. Civ. P. 4(n)(1). The

 Rule further provides that the defendant must be given notice of the lawsuit “as provided in the

 [federal] statute or by serving a summons under [Rule 4].” Id. Under the ACPA, a plaintiff filing



                                                   3
Case 1:20-cv-00443-TSE-TCB Document 12 Filed 09/11/20 Page 4 of 13 PageID# 126




 an in rem action must serve the registrant of the allegedly infringing domain name. 15 U.S.C. §

 1125(d)(2)(A)-(B). If a plaintiff is unable to find or obtain in personam jurisdiction over the

 person who would have been the defendant, then the plaintiff can effect service of process by (1)

 sending notice of the alleged violation and intent to proceed in rem to the registrant of the

 domain name at the postal or e-mail address provided to the registrar; and (2) publishing notice

 as directed by the court. Id. § 1125(D)(2)(A)(ii)(aa)-(bb).

        Here, Plaintiff has demonstrated proper service of process under the ACPA. On April 23,

 2020, Plaintiff filed a Motion for Order to Publish Notice of Action. (Dkt. 2.) In that motion,

 Plaintiff demonstrated its compliance with the first requirement under the statute. Specifically,

 Plaintiff’s counsel sent a letter to the current registrants of Defendant Domain Names using the

 email and postal addresses on file with the registrar of the domain names, notifying the registrant

 of this lawsuit and its intent to proceed in rem, and attaching a copy of the Verified Complaint.

 (Dkt. 2-2.)

        The next day, the Court granted Plaintiff’s motion and ordered Plaintiff to publish the

 Order providing notice of this lawsuit to the registrant of Defendant Domain Names in The

 Washington Times or The Washington Post once within fourteen (14) days of the Order. (Dkt. 3.)

 The Order further directed Plaintiff to file a declaration within twenty (20) days after entry of the

 Order describing its compliance. (Id.) On May 19, 2020, Plaintiff’s counsel, Mr. David E.

 Weslow, filed a declaration and supporting documentation pursuant to the Court’s April 24

 Order. (Dkt. 4.) Mr. Weslow’s declaration demonstrates that Plaintiff complied by publishing the

 Order in The Washington Times on April 30, 2020. (Dkt. 4 ¶ 5, Ex. A.)

        The undersigned finds that Plaintiff fulfilled the steps under the ACPA and this Court’s

 Order to properly effect service of process.



                                                  4
Case 1:20-cv-00443-TSE-TCB Document 12 Filed 09/11/20 Page 5 of 13 PageID# 127




                                            II. FINDINGS OF FACT

        Upon a full review of the pleadings and record in this case, the undersigned finds that

 Plaintiff has established the following facts.

        A.       The OptOutPrescreen Mark

        Plaintiff Opt Out Services LLC was formed in 2004 to provide consumers with

 centralized means of “opting-in” or “opting-out” of insurance or credit offers pursuant to the Fair

 and Accurate Credit Transactions Act. 15 U.S.C. § 1681. (Compl. ¶ 19-20.) Plaintiff provides

 this service to consumers through its website, www.optoutprescreen.com. Id. The company is

 organized under the laws of Delaware, and its principal place of business is located in

 Jacksonville, Florida. (Compl. ¶ 5.)

        Plaintiff’s website averages over 24,000 site “hits” per day and has had over 9,000,000

 visitor sessions in a single year. (Compl. ¶ 23.) The OptOutPrescreen mark has also received

 media attention and has been endorsed by the United States Federal Trade Commission (FTC)

 and Consumer Financial Protection Bureau (CFPB). (Compl. ¶¶ 20-21.)

        Plaintiff alleges that through the promotion and use of the OptOutPrescreen mark, it has

 become famous and/or distinctive throughout the United States in connection with Plaintiff’s

 services, and it is therefore entitled to common law trademark rights. (Compl. ¶¶ 24-25.) In

 addition to the common law trademark rights Plaintiff has accrued since 2004, Plaintiff

 registered the mark on December 20, 2011 on the Principal Trademark Register of the U.S.

 Patent and Trademark Office “under the incontestable registration number 4073252.”. 2 (Compl.

 ¶ 26, Ex. 8.)


 2
  Plaintiff attached a copy of the federally registered trademark for OPTOUTPRESCREEN as
 Exhibit 8 to its Verified Complaint. (See Dkt. 1-2.)
                                                  5
Case 1:20-cv-00443-TSE-TCB Document 12 Filed 09/11/20 Page 6 of 13 PageID# 128




        B.      Unlawful Registration and Use of Defendant Domain Names

        Defendant Domain Names represent typographical errors of Plaintiff’s registered

 OptOutPrescreen mark. As such, Plaintiff alleges that Defendant Domain Names were created

 for the purpose of “typosquatting” – that they were created with the intent to obtain internet

 “hits” when Internet users make typographical errors while attempting to navigate to Plaintiff’s

 website. (Compl. ¶¶ 28-29.) Defendant Domain Names are configured to display pay-per-click

 advertisements or to redirect users to other websites containing sales solicitation and malware.

 (Compl. ¶ 30.) The registrant of Defendant Domain Names therefore profits whenever an

 unsuspecting Internet user clicks on a third-party sales solicitation link and is diverted away from

 Plaintiff’s services. (Compl. ¶¶ 30, 36.)

        Plaintiff did not authorize the use of the OptOutPrescreen mark within Defendant

 Domain Names or the associated websites. (Compl. ¶ 32.) Furthermore, Defendant Domain

 Names neither reflects the intellectual property rights or legal name of its current registrant nor

 engages in bona fide noncommercial or fair use of the OptOutPrescreen mark in a website

 accessible under the domain name. (Compl. ¶¶ 33-34.) Plaintiff also alleges that consumers are

 likely to confuse the website displayed by the registrant of Defendant Domain Names with

 Plaintiff’s legitimate online location. (Compl. ¶ 35.)

                             III. EVALUATION OF THE PLAINTIFF’S COMPLAINT

        When a defendant has defaulted, the well-pleaded allegations of facts set forth in the

 plaintiff’s complaint are deemed admitted. JTH Tax, Inc. v. Grabert, 8 F. Supp. 3d 731, 736

 (E.D. Va. 2014) (citing Ryan v. Homecomings Fin. Network, 253 F.3d 778, 780 (4th Cir. 2001)).

 However, the defaulting party is not deemed to admit conclusions of law or “allegations



                                                  6
Case 1:20-cv-00443-TSE-TCB Document 12 Filed 09/11/20 Page 7 of 13 PageID# 129




 regarding liability that are not well-pleaded.” Balt. Line Handling Co. v. Brophy, 771 F. Supp. 2d

 531, 540 (D. Md. 2011) (internal quotation marks and citations omitted)). Consequently, before

 entering default judgment, the Court must evaluate the plaintiff’s complaint against the standards

 of Federal Rule of Civil Procedure 12(b)(6) to ensure that the complaint properly states a claim

 upon which relief can be granted. GlobalSantaFe Corp. v. Globalsantafe.com, 250 F. Supp. 2d

 610, 612 n.3 (E.D. Va. 2003) (citations omitted).

        Here, as discussed more below, Plaintiff only seeks the transfer of Defendant Domain

 Names under the ACPA (Count I), and requests that this Court dismiss the in rem trademark

 infringement claim (Count II) without prejudice, “given that the only relief being sought may be

 ordered pursuant to the First Count of In Rem Cybersquatting.” (Mem. Supp. at 1 n.1.)

 Accordingly, the undersigned will only address the ACPA claim (Count I).

        A.      Legal Standard

        Generally, the ACPA provides for a party to be liable to a trademark owner if that party

 has a bad-faith intent to profit from the owner’s mark and registers, traffics in, or uses a domain

 name that is identical, confusingly similar to, or dilutive of that mark. 15 U.S.C. §

 1125(d)(1)(A); see also Cent. Source LLC v. annualcreditreport.com, No. 1:14-cv-304, 2014

 WL 3811162, at *6 (E.D. Va. Aug. 1, 2014) (citing People for the Ethical Treatment of Animals

 v. Doughney, 263 F.3d 359, 367 (4th Cir. 2001)). Accordingly, the ACPA allows the owner of a

 mark to bring an in rem proceeding against a domain name if it violates the owner’s trademark

 rights and if the owner satisfies the various procedural provisions discussed above. See 15 U.S.C.

 § 1125(d)(2)(A). In an in rem action, the remedies are limited to forfeiture, cancellation, or

 transfer of the infringing domain name to the owner of the mark. Id. § 1125(d)(2)(D).

        To be entitled to relief, the plaintiff must prove a violation of “any right of the owner of a



                                                  7
Case 1:20-cv-00443-TSE-TCB Document 12 Filed 09/11/20 Page 8 of 13 PageID# 130




 mark,” which encompasses rights against cybersquatting. Id. § 1125(d)(2)(A); see Harrods Ltd.

 v. Sixty Internet Domain Names, 302 F.3d 214, 228, 232 (4th Cir. 2002). The owner of a mark

 may therefore be entitled to in rem relief upon proving a violation of § 1125(d)(1), which creates

 civil liability for registering, trafficking in, or using a domain name that is “identical or

 confusingly similar” to a plaintiff’s famous and/or distinctive mark, with a bad-faith intent to

 profit from that mark. 15 U.S.C. § 1125(d)(1)(A). In sum, to establish such an ACPA violation, a

 plaintiff must establish: (1) its ownership of a valid and protectable mark; (2) the registrant’s use

 of a domain name that is “identical or confusingly similar” to the plaintiff’s mark; and (3) the

 registrant’s bad-faith intent to profit from the mark. See id.

                1.      Plaintiff Possesses a Valid and Protectable Mark

        Plaintiff must first demonstrate that it has protectable rights in the OptOutPrescreen

 mark. Here, the undersigned finds that Plaintiff has a protectable mark under common law and

 because the mark is registered with the USPTO.

        First, at common law, trademark ownership can be acquired “by actual use of the mark in

 a given market.” Emergency One, Inc. v. Am. Fire Eagle Engine Co., 332 F.3d 264, 267 (4th Cir.

 2003). Here, as established above, Plaintiff has used the OptOutPrescreen mark exclusively and

 continuously in U.S. commerce for over 16 years (since 2004) in association with providing its

 services. (See Compl. ¶¶ 19-20.) Accordingly, the undersigned finds that Plaintiff is entitled to

 common law trademark rights in the OptOutPrescreen mark.

        Second, the ACPA protects Plaintiff’s mark because it is registered with the USPTO. The

 ACPA protects federally registered marks, and registration serves as prima facie evidence that a

 mark has acquired distinctiveness. See 15 U.S.C. § 1125(d)(2)(A)(i); Am. Online, Inc. v. AT&T

 Corp., 243 F.3d 812, 816 (4th Cir. 2001). Here, because Plaintiff has registered the



                                                   8
Case 1:20-cv-00443-TSE-TCB Document 12 Filed 09/11/20 Page 9 of 13 PageID# 131




 OptOutPrescreen mark with the USPTO, there is unrebutted prima facie evidence that the mark

 has at least acquired distinctiveness. (Compl. ¶ 31, Ex. B; see also Central Source LLC v.

 annualcreditredport.com, No. 1:14-cv-302 (AJT/JFA), 2014 WL 3891667, at *7 (E.D. Va. Aug

 7, 2014).)

         Finally, for protection under the ACPA, a plaintiff’s mark must be distinctive and/or

 famous at the time of the defendant domain name’s registration. 15 U.S.C. §

 1125(d)(1)(A)(ii)(I)-(II). Here, Plaintiff pleads that the OptOutPrescreen mark (1) is currently

 distinctive and famous and (2) was distinctive and famous at the time of the unauthorized

 registration of Defendant Domain Names. (Compl. ¶¶ 24, 41.)

         For these reasons, the undersigned finds that Plaintiff possesses a valid and protectable

 mark.

                2.     Defendant Domain Names Are Confusingly Similar to Plaintiff’s

         Mark

         Under the ACPA, Plaintiff must show that Defendant Domain Names are either identical,

 confusingly similar to, or dilutive of a distinctive mark owned by Plaintiff. 15 U.S.C. §

 1125(d)(1)(A); see Doughney, 263 F.3d at 367. If Defendant Domain Names and Plaintiff’s mark

 are virtually identical, then they are “confusingly similar” under the ACPA. See Agri-Supply Co.

 v. Agrisupply.com, 457 F. Supp. 2d 660, 664 (E.D. Va. 2006); see also Lone Star Steakhouse &

 Saloon, Inc. v. Alpha of Va., Inc., 43 F.3d 922, 936 (4th Cir. 1995) (“[I]n evaluating the

 similarity of two marks … the marks need only be sufficiently similar in appearance.” (citation

 omitted)). Logically, this “confusingly similar” standard is satisfied when a domain name is

 identical to a plaintiff’s mark. See Agri-Supply, 457 F. Supp. 2d at 663. Moreover, in the context

 of domain names, the mere presence of a top-level domain—such as “.COM”—“does not itself



                                                 9
Case 1:20-cv-00443-TSE-TCB Document 12 Filed 09/11/20 Page 10 of 13 PageID# 132




 have source-identifying significance.” Booking.com B.V. v. U.S. Patent & Trademark Office, 915

 F.3d 171, 185 (4th Cir. 2019), as amended (Feb. 27, 2019), aff’d, 140 S. Ct. 2298 (2020)

 (citations omitted).

        Here, this standard is easily met. Defendant Domain Names only add “.com” and a single

 altered interior letter to Plaintiff’s OptOutPrescreen mark, which as discussed above, is irrelevant

 in determining whether a domain name is identical or confusingly similar to a mark. Therefore,

 Plaintiff’s mark and Defendant Domain Names are identical for purposes of the ACPA.

                3.      Registrant’s Bad Faith

        Lastly, the undersigned finds that the current registrant of Defendant Domain Names

 acted in bad faith. Relevant factors for this determination include: (1) the registrant’s intellectual

 property rights in the domain name; (2) the extent to which the domain name consists of the

 registrant’s legal name; (3) the registrant’s bona fide noncommercial or fair use of the mark in a

 website accessible under the domain name; (4) the registrant’s intent to divert consumers from

 the mark owner’s website for commercial gain and in such a way that could harm the goodwill of

 the mark by creating a likelihood of confusion as to the source of the website; and (5) the

 registrant’s provision of misleading or false contact information when applying for registration

 of the domain name. 15 U.S.C. §§ 1125(d)(1)(B)(i)(I)-(II), (IV)-(V), (VII). Courts may use these

 factors as a guide but are not required to exhaustively consider them. Lamparello v. Falwell, 420

 F.3d 309, 319-20 (4th Cir. 2005).

        Here, there are several indications of the current registrant’s bad faith. First, Defendant

 Domain Names do not reflect the registrant’s intellectual property rights. (Compl. ¶¶ 32, 42; see

 also 15 U.S.C. § 1125(d)(1)(B)(i)(I).) Second, Defendant Domain Names do not reflect the

 current registrant’s legal name, or any other name used to identify the registrant. (Compl. ¶¶ 33,



                                                  10
Case 1:20-cv-00443-TSE-TCB Document 12 Filed 09/11/20 Page 11 of 13 PageID# 133




 37-38; see also 15 U.S.C. § 1125(d)(1)(B)(II).) Third, the registrant has never engaged in any

 bona fide noncommercial or fair use of the OptOutPrescreen mark on a website accessible under

 Defendant Domain Names. (Compl. ¶ 34; see also 15 U.S.C. § 1125(d)(1)(B)(i)(IV).) Fourth, the

 registrant of Defendant Domain Names has indicated an intent to (1) divert consumers away

 from Plaintiff’s legitimate online locations at optoutprescreen.com and (2) profit from that

 diversion by creating a likelihood of confusion as to the source, sponsorship, affiliation, or

 endorsement of Defendant Domain Names through its use of the domain names. (Compl. ¶ 36;

 see also 15 U.S.C. § 1125(d)(1)(B)(i)(V).) Finally, the current registrant of Defendant Domain

 Names supplied material and misleading contact information when registering the domain

 names, which supports a finding of bad faith. (Compl. ¶ 37; see also 15 U.S.C. §

 1125(d)(1)(B)(i)(VII).) Upon review of the relevant factors and underlying facts, the undersigned

 concludes that the registrant of Defendant Domain Names acted in bad faith.

        B.      Conclusion

        Plaintiff has satisfied the ACPA’s procedural provisions and is entitled to relief under 15

 U.S.C. § 1125(d). As a result, the undersigned finds that the Court may order the forfeiture or

 cancellation of Defendant Domain Names, or transfer ownership of Defendant Domain Names to

 Plaintiff. See 15 U.S.C. § 1125(d)(1)(C), (2)(D)(i).

                                          IV. REQUESTED RELIEF

        Plaintiff requests that the Court (1) enter default judgment against Defendant Domain

 Names on Count I of Plaintiff’s Verified Complaint; (2) dismiss Count II of Plaintiff’s Verified

 Complaint without prejudice; and (3) direct VeriSign, Inc. to transfer each of Defendant Domain

 Names to Plaintiff’s domain name registrar of choice, GoDaddy.com LLC, and direct

 GoDaddy.com LLC to take all necessary steps to have Plaintiff listed as the registrant for the



                                                 11
Case 1:20-cv-00443-TSE-TCB Document 12 Filed 09/11/20 Page 12 of 13 PageID# 134




 domain names. The undersigned will consider each form of requested relief in turn.

        A.      Entering Default Judgment on Count I

         The undersigned found above that Plaintiff pled a claim upon which relief can be granted

 under the ACPA (Count I). As a result, the undersigned recommends granting Plaintiff’s motion

 for default judgment, thereby entering default judgment in favor of Plaintiff and against

 Defendant Domain Names on Count I of Plaintiff’s Verified Complaint.

        B.     Dismissing Count II Without Prejudice

        As Plaintiff is seeking default judgment under the ACPA claim (Count I) only, Plaintiff

 seeks dismissal of its in rem trademark infringement claim (Count II) without prejudice. Because

 the undersigned recommends entering default judgment under Count I, the undersigned also

 finds good cause to dismiss Count II without prejudice.

        C.     Transfer of Defendant Domain Names to Plaintiff

        As a remedy in in rem proceedings against a domain name, a court may order the transfer

 of the domain name to the owner of the mark. 15 U.S.C. § 1125(d)(1)(C), (2)(D)(i). Here, the

 domain name registry for Defendant Domain Names is maintained by VeriSign, Inc., which is

 located in this Court’s judicial district. (Compl. ¶ 17.) As such, upon entry of default judgment

 against Defendant Domain Names on Count I, the Court may order the registry to transfer

 ownership of Defendant Domain Names to Plaintiff. Because Plaintiff has pled a claim upon

 which relief can be granted under the ACPA and satisfied the procedural and jurisdictional

 requirements, the undersigned recommends that the Court transfer ownership of Defendant

 Domain Names to Plaintiff upon entering default judgment.

                                          V. RECOMMENDATION

        For the reasons stated above, the undersigned recommends that this Court (1) grant



                                                12
Case 1:20-cv-00443-TSE-TCB Document 12 Filed 09/11/20 Page 13 of 13 PageID# 135




 Plaintiff’s motion for default judgment (Dkt. 8), thereby entering default judgment against

 Defendant Domain Names and in favor of Plaintiff on Count I of Plaintiff’s Verified Complaint;

 (2) dismiss Count II of Plaintiff’s Verified Complaint without prejudice; and (3) direct VeriSign,

 Inc. to transfer Defendant Domain Names to Plaintiff’s domain name registrar of choice,

 GoDaddy.com LLC, and direct GoDaddy.com LLC to take all necessary steps to have Plaintiff

 listed as the registrant for Defendant Domain Names.

                                                 VI. NOTICE

        The parties are advised that objections to this Report and Recommendation, pursuant to

 28 U.S.C. § 636 and Rule 72(b) of the Federal Rules of Civil Procedure, must be filed within

 fourteen (14) days of its service. Failure to object to this Report and Recommendation waives

 appellate review of any judgment based on it.


                                                                               /s/
                                                      __________________________________
                                                      THERESA CARROLL BUCHANAN
                                                      UNITED STATES MAGISTRATE JUDGE


 September 11, 2020
 Alexandria, Virginia




                                                 13
